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                                               PRECEDENTIAL

            UNITED STATES COURT OF APPEALS
                 FOR THE THIRD CIRCUIT



                         No. 22-1864
                        ____________


       CONSUMER FINANCIAL PROTECTION BUREAU



                                v.

     NATIONAL COLLEGIATE MASTER STUDENT LOAN
     TRUST; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2003-1; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2004-1; NATIONAL COLLEGIATE
         STUDENT LOAN TRUST 2004-2; NATIONAL
        COLLEGIATE STUDENT LOAN TRUST 2005-1;
      NATIONAL COLLEGIATE STUDENT LOAN TRUST
      2005-2; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2005-3; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2006-1; NATIONAL COLLEGIATE
         STUDENT LOAN TRUST 2006-2; NATIONAL
        COLLEGIATE STUDENT LOAN TRUST 2006-3;
      NATIONAL COLLEGIATE STUDENT LOAN TRUST
      2006-4; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2007-1; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2007-2; NATIONAL COLLEGIATE
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         STUDENT LOAN TRUST 2007-3; NATIONAL
        COLLEGIATE STUDENT LOAN TRUST 2007-4,
                Delaware Statutory Trusts

     NATIONAL COLLEGIATE MASTER STUDENT LOAN
     TRUST; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2003-1; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2004-1; NATIONAL COLLEGIATE
         STUDENT LOAN TRUST 2004-2; NATIONAL
        COLLEGIATE STUDENT LOAN TRUST 2005-1;
      NATIONAL COLLEGIATE STUDENT LOAN TRUST
      2005-2; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2005-3; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2006-1; NATIONAL COLLEGIATE
         STUDENT LOAN TRUST 2006-2; NATIONAL
            COLLEGIATE STUDENT LOAN TRUST
      2006-3; NATIONAL COLLEGIATE STUDENT LOAN
     TRUST 2006-4; NATIONAL COLLEGIATE STUDENT
       LOAN TRUST 2007-1; NATIONAL COLLEGIATE
         STUDENT LOAN TRUST 2007-2; NATIONAL
        COLLEGIATE STUDENT LOAN TRUST 2007-3;
      NATIONAL COLLEGIATE STUDENT LOAN TRUST
        2007-4; AMBAC ASSURANCE CORPORATION;
                TRANSWORLD SYSTEMS INC,

                                                   Appellants




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             Appeal from the United States District Court
                      for the District of Delaware
               (D.C. Civil Action No. 1-17-cv-01323)
             Circuit Judge: Honorable Stephanos Bibas 1


                      Argued on May 17, 2023

        Before: RESTREPO, ROTH and McKEE, Circuit Judges

                   (Opinion filed: March 19, 2024)

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     Honorable Stephanos Bibas, United States Court of Appeals
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    designation.




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                      State of Maryland, State of
                      Massachusetts, State of Michigan, State
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                          OPINION




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    ROTH, Circuit Judge:

            The issues before the Court on this interlocutory appeal
    are whether the Trusts are covered persons subject to the
    Consumer Financial Protection Act (CFPA), and whether the
    Consumer Financial Protection Bureau (CFPB) was required
    to ratify the underlying action. As a result of our review of the
    case, we will remand it to the District Court with our answers
    to the two questions certified.


    I.     BACKGROUND

           A.     Formation and Obligations of the Trusts

            Between 2003 and 2007 there was a massive uptick in
    securitized assets. 2 Part of this increase in securitization was
    the privatization of student loans. 3 During this period, the
    fifteen appellant trusts (the Trusts), which are “offshoots of the
    National Collegiate Student Loan Master Trust,” were formed
    “for the narrow purpose of acquiring and servicing a sizable




    2
      See Sergei Chernenko et al., The Rise and Fall of Demand for
    Securitizations, HARVARD BUSINESS SCHOOL, 1 (2014),
    https://www.hbs.edu/ris/Publication%20Files/The%20Rise%
    20and%20Fall%20of%20Demand%20for%20Securitizations
    _26afb79a-342c-42d6-9b8e-184c0b9ec2f4.pdf.
    3
      See id. at 5.




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    portfolio of student loans.” 4 Indeed, the Trusts have since
    amassed over eight hundred thousand private loans. 5

           “At their formation, each of the 15 Trusts and the Owner
    Trustee executed a Trust Agreement governed by Delaware
    law.” 6 This agreement defined the purpose of the Trusts. 7
    Under the agreement, because the Trusts have no employees,
    the Owner Trustee “is empowered to ‘act on behalf of the
    Trust[s].’” 8    One way to do so is by entering into
    Administration Agreements. 9             “[T]he Administration
    Agreements make clear the Administrator will ‘perform’ the
    ‘duties of the [Trusts]’ as well as ‘the duties and obligations of
    the Owner Trustee on behalf of the [Trusts] under . . . the Trust
    Agreement.’” 10 Therefore, “Administration Agreements . . .
    play a pivotal role in the overall structure of the securitization
    transaction.” 11




    4
      In re Nat’l Collegiate Student Loan Trusts Litig., 251 A.3d
    116, 127 (Del. Ch. 2020) (hereinafter In Re NCLST).
    5
      CFPB v. Nat’l Collegiate Master Student Loan Trust, 575 F.
    Supp. 3d 505, 506 (D. Del. 2021), motion to certify appeal
    granted, No. 1:17-CV-1323-SB, 2022 WL 548123 (D. Del.
    Feb. 11, 2022) (hereinafter CFPB II).
    6
       In Re NCLST, 251 A.3d at 132. There is no discernable
    difference between the Trusts in In Re NCLST and the Trusts
    from CFPB II.
    7
      See infra note 105.
    8
      In Re NCLST, 251 A.3d at 131 (alteration in original).
    9
      See id.
    10
       Id. at 140 (quoting JA150).
    11
       Id. at 133.




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           Part of the role played by the Administrator is
    contracting with third parties through Servicing Agreements. 12
    “[F]or each Trust, the Administrator contracted with a
    [Special] Servicer (or a similar entity) in a Servicing
    Agreement. In that agreement, the Servicer promised to
    ‘provide and perform’ certain services such as ‘[b]orrower
    communications,’ ‘[p]rocedures for delinquency and default,’
    and ‘[d]isbursement.’” 13 The Special Servicer, would, in turn,
    contract with subservicers that would “conduct[] collections”
    and “oversee[] . . . collection lawsuits against borrowers in the
    name of the Trusts.” 14 As such, in each suit, one of the Trusts
    was the named plaintiff and the primary beneficiary of any
    action in which it prevailed. 15

           In 2014, after noticing the practices of the Trusts and
    those acting on their behalf, the CFPB issued a civil
    investigative demand (CID) to each Trust for information on
    collections lawsuits brought against borrowers for defaulted




    12
       Id. at 141.
    13
       Id. at 141 (alterations in original) (footnote omitted).
    14
       CFPB II, 575 F. Supp. 3d at 506–07 (alterations in original).
    15
       See Amici Br. Student Borrower Protection Center at 15
    (stating that, in California, “every time” a suit was brought
    against a delinquent debtor, the creditor was represented by
    counsel) (citing Mark Huelsman, The Debt Divide: The Racial
    and Class Bias Behind the “New Normal” of Student
    Borrowing,                       DEMOS                      (2015),
    https://www.demos.org/publication/debt-divide-racial-and-
    class-bias-behind-new- normal-student-borrowing).




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    student loans. 16 In 2017, the CFPB initiated enforcement
    proceedings against the Trusts. 17 The parties reached a
    settlement and asked the court to enter a consent decree. The
    court declined to do so. 18 The CFPB then filed this action. 19

           B.     Precedential Developments and Their Effect on
           the Instant Matter

            While the case was proceeding through the District
    Court, the Supreme Court issued two relevant opinions. The
    first was Seila Law LLC v. Consumer Financial Protection
    Bureau. 20 There, the Court addressed 12 U.S.C. § 5491(c), the
    statute establishing the CFPB and its Director. According to
    the statute, the Director may be removed by the President only
    “for cause.” 21 However, the Constitution dictates that agency
    heads must be freely removable by the President. 22 The Court

    16
       CFPB v. Nat’l Collegiate Master Student Loan Tr., No. CV
    17-1323 (MN), 2021 WL 1169029, at *2 (D. Del. Mar. 26,
    2021) (hereinafter CFPB I); JA367 (same); NCMSLT Br. at
    14.
    17
       CFPB I, 2021 WL 1169029, at *2.
    18
       CFPB II, 575 F. Supp. 3d at 507.
    19
       CFPB I, 2021 WL 1169029, at *2; JA367.
    20
       140 S. Ct. 2183 (2020).
    21
       12 U.S.C. § 5491(c)(3).
    22
       See Bowsher v. Synar, 478 U.S. 714, 726 (1986) (stating that
    executive officials “must fear and, in the performance of [their]
    functions, obey” (quotation omitted)). Even though this
    removal power is not without limit, “[t]he parties do not ask us
    to reexamine any of these [limits], and [thus] we do not do so.”
    Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S.
    477, 483 (2010).




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    held that the CFPB’s removal provision unconstitutionally
    insulated the Director of the CFPB from the president’s
    removal authority because “the CFPB’s leadership by a single
    individual removable only for inefficiency, neglect, or
    malfeasance violates the separation of powers.” 23

            When an unconstitutional “provision violates the
    separation of powers it inflicts a ‘here-and-now’ injury on
    affected third parties that can be remedied by a court.” 24 The
    Court then evaluated 12 U.S.C. § 5491(c)(3) within the broader
    context of the Dodd-Frank Act. 25 It noted that “[i]t has long
    been settled that ‘one section of a statute may be repugnant to
    the Constitution without rendering the whole act void.’” 26
    “Generally speaking, when confronting a constitutional flaw in
    a statute, we try to limit the solution to the problem, severing

    23
        Seila Law LLC, 140 S. Ct. at 2197. There was also a
    secondary basis for this decision: that the Director would be
    appointed every five years, and so a sitting President may not
    have the opportunity to appoint the agency head. Id. at 2204.
    This is why the opinion refers to the Director as being
    “insulated by two layers of for-cause removal protection.” Id.
    at 2198. However, because the parties focus purely on the fact
    that the Director was unconstitutionally insulated because he
    could only be removed for cause, there is no need to address
    this secondary ground discussed in Seila Law.
    24
       Id. at 2196 (citing Bowsher, 478 U.S., at 727 n.5).
    25
       Id. at 2207, 2209. The CFPA is contained within the Dodd-
    Frank Act. Because the parties do not discuss Dodd-Frank
    outside the confines of the CFPA, the two terms may be used
    interchangeably.
    26
       Id. at 2208 (quoting Loeb v. Columbia Twp. Trs., 179 U.S.
    472, 490 (1900)).




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    any problematic portions while leaving the remainder intact.” 27
    Therefore, “[w]hen Congress has expressly provided a
    severability clause, [a court’s] task is simplified.” 28 Because
    “[t]he only constitutional defect [the Court] identified in the
    CFPB’s structure is the Director’s insulation from removal . . .
    . [the Court] must therefore decide whether the removal
    provision can be severed from the other statutory provisions
    relating to the CFPB’s powers and responsibilities.” 29


            The Dodd-Frank Act itself, which contains the CFPA,
    includes the following provision: “If any provision of this Act
    . . . or the application of such provision . . . is held to be
    unconstitutional, the remainder of this Act, the amendments
    made by this Act, and the application of the provisions of such
    to any person or circumstance shall not be affected thereby.” 30
    Thus, because Dodd-Frank has an express severability clause,
    “[t]here is no need to wonder what Congress would have
    wanted if ‘any provision of this Act’ is ‘held to be
    unconstitutional.’ Congress has told us: ‘the remainder of this
    Act’ shall ‘not be affected.’” 31 The Court found there to be no
    support for the notion that “Congress would have preferred no
    CFPB to a CFPB supervised by the President.” 32 The Court

    27
       Id. at 2209 (quoting Free Enter. Fund, 561 U.S. at 508)); see
    id. at 2208 (“If the removal restriction is not severable, then we
    must grant the relief requested, promptly rejecting the demand
    outright.”).
    28
       Id.
    29
       Id.
    30
       12 U.S.C. § 5302.
    31
       Seila Law, 140 S. Ct. at 2209 (quoting 12 U.S.C. § 5302).
    32
       Id.




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    concluded that “[t]he provisions of the Dodd-Frank Act
    bearing on the CFPB’s structure and duties remain fully
    operative without the offending tenure restriction.” 33

            The Supreme Court then severed 12 U.S.C. § 5491(c),
    and remanded the action “to determine what to do about a
    petition to enforce a CID that the Bureau had filed while its
    structure was unconstitutional.” 34 This conformed with the
    law at the time that constitutional defects had to be cured by
    ratification, 35 and “the party ratifying should be able not
    merely to do the act ratified at the time the act was done, but
    also at the time the ratification was made.” 36 The court
    concluded that, if the CFPB Director did not effectively ratify
    the underlying suit, the petition had to be dismissed. 37

          Turning to the case before us, the Trusts moved to
    dismiss the CFPB’s complaint on several grounds. 38 However,
    the District Court felt it “need only address two” of those
    grounds: 39 first, whether the Trusts were “covered persons”


    33
       Id.
    34
       CFPB I, 2021 WL 1169029, at *4.
    35
       Id.
    36
        Advanced Disposal Serv. E., Inc. v. N.L.R.B., 820 F.3d 592,
    603 (3d Cir. 2016).
    37
       Id. Ratification will be discussed in more depth below.
    38
       More specifically, there were several entities that intervened
    in this matter, and they moved to dismiss in the wake of Seila
    Law. The Trusts joined the intervenors’ motion to dismiss.
    CFPB I, 2021 WL 1169029, at *3.
    39
       Id. at *3. These are, in essence, the two grounds in this
    appeal.




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    subject to the CFPA; 40 second, whether the suit had to be
    ratified because the action was initiated while there was a
    constitutional deficiency within the agency. The contention
    was that this suit was ratified after the statute of limitations had
    run and thus was untimely. 41

            The District Court agreed that the suit was untimely. 42
    Relying on our opinion in Advanced Disposal, it concluded
    that “ratification is, in general, not effective when it takes place
    after the statute of limitations has expired.” 43 The CFPB
    Director ratified the action more than three years after the date
    of discovery of these violations. 44 The District Court also
    rejected the CFPB’s alternative argument that the statute of
    limitations be equitably tolled. The court found that the bureau
    did not “diligent[ly] pursu[e] . . . its rights” during the relevant
    period because “the Bureau was (as it should have been)
    acutely aware that there was doubt over the constitutionality of
    its enforcement authority.” 45




    40
       See id.
    41
       Id.; see 12 U.S.C. 5564(g)(1) (stating that “no action may be
    brought . . . more than 3 years after the date of discovery of the
    violation to which an action relates”).
    42
       The District Court did not thoroughly address whether the
    Trusts were “covered persons” under the CFPA, but it did
    “harbor[ ] some doubt” that they were. CFPB I, 2021 WL
    1169029, at *3.
    43
       CFPB I, 2021 WL 1169029, at *5 (citing Benjamin v. V.I.
    Port Authority, 684 F. App’x 207, 212 (3d Cir. 2017)).
    44
       Id.
    45
       Id. at *6.




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           With the court’s leave, the CFPB filed an amended
    complaint. The CFPB’s amended complaint emphasized that
    the Trusts are “covered persons” who “engage in” debt
    collection and are thus subject to the CFPA.46 Again, the Trusts
    and several intervenors moved to dismiss, arguing that they are
    not “covered persons” under the statute and that the suit was
    untimely. 47

           Before the District Court decided these motions, the
    Supreme Court issued a new opinion, in Collins v. Yellen. 48
    There, the Court was facing a situation similar to that in Seila
    Law. The underlying suit was brought against the Federal
    Housing Finance Authority (FHFA) on the ground that the
    FHFA Director was impermissibly insulated from the
    President’s removal authority because he could only be
    removed for cause. 49 Because of this, the Shareholders argued
    that agency enforcement actions made while the FHFA
    Director was impermissibly insulated were void ab initio. 50

           The Court made quick work of the insulation issue. It
    found its decision in Seila Law to be “all but dispositive”: “[a]
    straightforward application of [the] reasoning in Seila Law”
    required the Court to conclude that a for-cause restriction on
    the President’s removal power violates separation of powers. 51

    46
       JA383–84.
    47
       CFPB II, 575 F. Supp. 3d at 507.
    48
       141 S. Ct. 1761 (2021).
    49
       Id. at 1784.
    50
       Id. at 1787.
    51
       Id. at 1783–84. Though there are obviously some differences
    between the CFPB and the FHFA, the Court did not “find any




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           However, unlike in Seila Law, the Court also addressed
    the question of whether the actions of agency heads lacking
    constitutional authority were void ab initio. 52 At the outset, it
    noted that “there is no basis for concluding that any head of the
    FHFA lacked the authority to carry out the functions of the
    office.” 53 The Court concluded that whether agency action was
    void ab initio came down to whether an agency director was
    properly appointed. 54 More particularly, the Court held:

           All the officers who headed the FHFA during the
           time in question were properly appointed.
           Although the statute unconstitutionally limited
           the President’s authority to remove the confirmed
           Directors, there was no constitutional defect in
           the statutorily prescribed method of appointment
           to that office. As a result, there is no reason to
           regard any of the actions taken by the FHFA . . .
           as void. 55




    of these distinctions sufficient to justify a different result.” Id.
    at 1784.
    52
       Id. at 1787.
    53
       Id. at 1788 (citing Seila Law, 140 S. Ct. at 2207–11).
    54
       Id. at 1787. There is no support for the notion that any CFPB
    director was improperly appointed, and neither party argues
    this point. See JA15 (stating that “the Bureau’s director was
    properly appointed”).
    55
       Collins, 141 S. Ct. at 1787.




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    In so holding, the Court rejected the claim that agency actions
    are void unless “ratified by an Acting Director who was
    removable at will by the President.” 56

           The Court further clarified that actions taken by an
    improperly insulated director are not “void” and do not need to
    be “ratified” unless a plaintiff can show that the removal
    provision harmed him. 57 “[P]laintiffs alleging a removal
    violation are entitled to injunctive relief—a rewinding of
    agency action—only when the President’s inability to fire an
    agency head affected the complained-of decision.” 58 In other
    words, if there is no harm derived from the President’s inability
    to remove the agency head, then the agency action will not be
    unwound. 59

           Because in Seila Law there was a “dispute [about] the
    possibility that the unconstitutional removal restriction caused
    any such harm,” the Court held that such disputes should be
    resolved by the lower courts and remanded the action to the


    56
       Id. In Collins, the petitioning shareholders argued that an
    unconstitutionally insulated “Director’s action would be void
    unless lawfully ratified,” id. at 1788, based on the fact that the
    Court in Seila Law remanded “to consider whether the civil
    investigative demand was validly ratified,” Seila Law, 140 S.
    Ct. at 2211. However, the Court in Collins noted that it never
    mentioned “whether ratification was necessary” when agency
    action was taken at the behest of an unconstitutionally
    insulated agency director. Collins, 141 at 1788.
    57
       Id. at 1788–89.
    58
       Id. at 1801 (Kagan, J., concurring in part).
    59
       Id.




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    court of appeals. 60 In so doing, the Court in Collins extended
    the rule established in Seila Law to permit consideration of
    harm and, as a result of doing so, to determine if the agency
    action had to be rewound.

           Against this backdrop of Collins and Seila Law, the
    District Court considered the underlying action. It addressed
    two questions: whether the CFPB needed to ratify this action
    (which necessarily addresses the suit’s timeliness) and whether
    the Trusts were “covered persons” under the CFPA.61 Based
    on Collins, the District Court held that the agency head was
    properly appointed, and that the agency would have filed the
    action regardless of the President’s ability to remove the
    agency head. More particularly, it held:

           This suit would have been filed even if the
           director had been under presidential control. It
           has been litigated by five directors of the CFPB,
           four of whom were removable at will by the
           President. And the CFPB did not change its
           litigation strategy once the removal protection
           was eliminated. This is strong evidence that this
           suit would have been brought regardless. Thus,
           the CFPB’s initial decision to bring this suit was
           not ultra vires. 62

    60
       Id. at 1789; see, e.g., id. at 1795 (Thomas, J., concurring)
    (“The Fifth Circuit can certainly consider this issue on
    remand.”); id. at 1802 (Kagan, J., concurring in part) (stating
    that the “Court of Appeals already considered and decided the
    issue remanded”).
    61
       See CFPB II, 575 F. Supp. 3d at 506.
    62
       Id. at 508 (citation omitted).




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           This conclusion resolved the first question.

            The District Court then considered whether the Trusts
    were “covered persons” under the CFPA. 63 Section 5584(a)
    of the statute, which governs the CFPB’s enforcement
    authority, states that “[t]he CFPB may bring enforcement
    actions to ‘prevent a covered person or service provider from
    committing or engaging in an unfair, deceptive, or abusive act
    or practice.’” 64 Under the CFPA, a “covered person,” is “any
    person that engages in offering or providing a consumer
    financial product or service.” 65 Because “[t]he Trusts do not
    deny that their subservicers collected debt or serviced loans”
    the District Court noted that “this dispute boils down to the
    breadth of the word ‘engage.’” 66 The central question in
    evaluating this inquiry was: “Does a person ‘engage’ in an
    activity if he contracts with a third party to do that activity on
    his behalf?” 67 The court’s answer was “Yes.” 68

          Relying on multiple dictionaries, the District Court
    determined that “‘[e]ngage’ means to ‘to embark in any
    business’ or to ‘enter upon or employ oneself in an action.’”69

    63
       See id. at 509.
    64
       Id. (quoting 12 U.S.C. § 5531(a)).
    65
       12 U.S.C. § 5481(6)(A).
    66
       CFPB II, 575 F. Supp. 3d at 509.
    67
       Id. (emphasis added).
    68
       Id.
    69
       Id. (citing Engage (def. 16), Oxford English Dictionary (2d
    ed. 2000)); see also Engage, Black’s Law Dictionary (11th ed.
    2019) (“To employ or involve oneself; to take part in; to
    embark on.”).




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    This definition, it found, was “broad enough to encompass
    actions taken on a person’s behalf by another, at least where
    that action is central to his enterprise.” 70 The court found that
    “[t]he Trusts ‘embark[ed] in [the] business’ of collecting debt
    and servicing loans when they contracted with the servicers
    and subservicers to collect their debt and service their loans.” 71
    The court continued, “[t]he Trusts cannot claim that they were
    not ‘engaged in’ a key part of their business just because they
    contracted it out.” 72

            Shortly thereafter, the Trusts and intervenors timely
    filed a motion for interlocutory appeal. The District Court
    certified two questions for review: first, the statutory question
    whether the Trusts are “‘covered persons’ subject to the
    [CFPB’s] enforcement authority” under the CFPA; 73 second,
    the constitutional question, whether, after Collins, “the Bureau
    need[ed] to ratify this suit before the statute of limitations ran,
    having first filed it while the Bureau’s director was improperly
    insulated from presidential removal[.]” 74




    70
       CFPB II, 575 F. Supp. at 509.
    71
       Id.
    72
       Id. at 509–10 (citing Barbato v. Greystone All., LLC, 916
    F.3d 260, 266–68 (3d Cir. 2019) (finding that a “passive debt
    owner” counted as a “debt collector” under the Fair Debt
    Collection Practices Act when it contracted with a third party
    to collect debt on its behalf)).
    73
       JA20.
    74
       JA20.




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    II.    JURISDICTION AND STANDARD OF REVIEW

           The Trusts petitioned us for review pursuant to 28
    U.S.C. § 1292(b). 75 We have jurisdiction under that same
    provision. 76 We also have jurisdiction pursuant to 28 U.S.C. §
    1331. We review questions certified for interlocutory review
    de novo. 77

    III.   DISCUSSION

           A.     Statutory Question

           The statutory dispute between the parties boils down to
    a central question: Are the Trusts “covered persons” under the
    CFPA because they engage in consumer financial products or
    services? 78

            In interpreting a statute, we begin our analysis with the
    plain language of the statute. Just as the District Court did, we
    “[s]tart with the text.” 79 That text begins with 12 U.S.C. §
    5531(a), which dictates the CFPB’s enforcement authority.
    The statute states the following:

    75
       NCMSLT Br. at 4–5.
    76
       NCMSLT Br. at 4.
    77
       Barbato, 916 F.3d at 264.
    78
       See NCMSLT Br. at 24, 33; CFPB Br. at 12.
    79
       CFPB II, 575 F. Supp. 3d at 509; see Republic of Sudan v.
    Harrison, 139 S. Ct. 1048, 1056 (2019) (“We begin ‘where all
    [statutory interpretation] inquiries must begin: with the
    language of the statute itself.’” (quoting Caraco Pharm. Labs.,
    Ltd. v. Novo Nordisk A/S, 566 U.S. 399, 412 (2012) (cleaned
    up))).




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           The Bureau may take any action . . . to prevent a
           covered person or service provider from
           committing or engaging in an unfair, deceptive,
           or abusive act or practice under Federal law in
           connection with any transaction with a consumer
           for a consumer financial product or service, or
           the offering of a consumer financial product or
           service. 80

    A “covered person” is defined by § 5481(6)(A) as “any person
    that engages in offering or providing a consumer financial
    product or service.” 81 To apply the statutory interpretive
    framework above, and thus determine whether the Trusts are
    “covered persons” subject to the CFPB’s enforcement




    80
      12 U.S.C. § 5531(a) (emphases added).
    81
       12 U.S.C. § 5481(6)(A). The omitted portion of this
    provision states the following: “and any affiliate of a person
    described in subparagraph (A) if such affiliate acts as a service
    provider to such person.” While we do agree that servicers
    were “central” to the Trusts’ “enterprise,” see JA14, neither
    party argues at this time that the Trusts should be liable for the
    acts of the servicers. Indeed, that would likely be an entirely
    different matter. See CFPB Br. at 31; Barbato, 916 F.3d at
    269–70 (illustrating that whether one can be liable for the
    actions of another is a different question from the one presented
    on appeal). As such, we need not evaluate affiliate liability,
    especially if the Trusts can be said to “engage” on their own
    accord. Thus, the relevant inquiry is not whether the servicers
    are an affiliate of the Trusts, but whether the Trusts “engaged”
    others to proliferate their business.




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    authority, we must look to “engage” in its statutory context. 82
    To streamline this process, we will define this context first so
    that we can then apply “engage” against that background.

           A “person,” under the CFPA, “means an individual,
    partnership, company, corporation, association (incorporated
    or unincorporated), trust, estate, cooperative organization, or
    other entity.” 83 “Trusts” are explicitly mentioned here.
    Additionally, the Trusts are statutory trusts formed under
    Section 3801 of Title 12 of the Delaware Code. 84 Title 12 of
    the Delaware Code states that statutory trusts are defined as
    “unincorporated associations.” 85 Congress’s intent is clear:
    the Trusts were to be included as “persons” under the CFPA. 86

           A similarly inevitable conclusion is reached when
    defining “consumer financial product[s and] service[s].” 87 In


    82
       Robinson v. Shell Oil Co., 519 U.S. 337, 341 (1997) (“The
    plainness or ambiguity of statutory language is determined by
    reference to the language itself, the specific context in which
    that language is used, and the broader context of the statute as
    a whole.”); see JA14.
    83
       12 U.S.C. § 5481(19).
    84
       CFPB I, 2021 WL 1169029, at *1.
    85
       12 Del. Code § 3801(i).
    86
       “If the language of the statute expresses [the legislature’s]
    intent with sufficient precision, the inquiry ends there and the
    statute is enforced according to its terms.” Gregg, 226 F.3d at
    257 (“If the language of the statute expresses [the legislature’s]
    intent with sufficient precision, the inquiry ends there and the
    statute is enforced according to its terms.”).
    87
       12 U.S.C. § 5481(5).




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    defining this phrase, 88 the statute directs us to the definition of
    “financial product or service.” 89 Under § 5481(15), a financial
    product or service may include “extending credit and servicing
    loans.” 90 The Trusts themselves state in their opening brief that
    they “were formed to acquire a pool of private student loans,
    to issue securitized notes on those loans, and to provide for the
    servicing of the loans and the distribution to noteholders of the
    loan payments made by borrowers.” 91                   Thus, they
    unambiguously fall within the statute. 92

           We then turn to the primary statutory question: whether
    the Trusts “engage.” If they do “engage,” they are covered
    persons under the CFPA; if they do not, they do not fall within
    the purview of the CFPA. The District Court found “room for
    reasonable disagreement” in the definition of “engage.” 93 For
    this reason, we will look to other interpretative measures to

    88
       See supra notes 80–81 and accompanying text.
    89
       12 U.S.C. § 5481(5).
    90
       Id. § 5481(15)(A)(i). Thus, the terms of § 5481(15) are
    included in § 5481(5).
    91
       NCMSLT Br. at 10 (emphasis added) (citing JA107, which
    is part of the trust agreement).
    92
       This point does not seem to be disputed by the parties. See
    Amici Br. Securities Ind. & Fin. Mkts. Assoc. at 15 (stating
    that the Trusts “do not, and cannot, ‘engage in’ offering or
    providing consumer financial products or services such as the
    debt collection services at issue here” (emphasis added)); see
    also JA13–14 (“True, third parties, not the Trusts, collected the
    debt and serviced the loans. But the loan servicing and debt
    collection were crucial to the Trusts’ business and could not
    have happened without their say-so.”).
    93
       JA14.




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    define this term. To do so, we will review how this definition
    has been applied in earlier cases. 94

           In Southwest Airlines Co. v. Saxon, the Supreme Court
    had to determine whether a “class of workers engaged in
    foreign or interstate commerce.” 95      Southwest Airlines
    attempted to enforce an arbitration agreement against Saxon
    under the Federal Arbitration Act (FAA). 96 In response,

    94
        Unfortunately, Dodd-Frank’s legislative history does not
    adequately define “engage.” Thus, we cannot glean much by
    examining CFPA’s history. Something we can glean, though,
    is that when Dodd-Frank was before Congress, its purpose was
    broad: “This is a time to bring certainty back into the market
    and reasonable regulation and reasonable enforcement back to
    the financial system.” 156 Cong. Rec. H5223-02, 156 Cong.
    Rec. H5223-02, H5231. But Congress addressed the concern
    that the Act was too broad: “One of the initial concerns we
    heard was that companies who do not engage in consumer
    financial business would be regulated by [Dodd-Frank]. We
    fixed that. Merchants, retailers, doctors, realtors, and others—
    some suggested the butcher, the baker, the candlestick
    maker—let’s be clear, they’re exempt from [Dodd-Frank] as
    was intended and as they should be.” 155 Cong. Rec. H14762-
    01, 155 Cong. Rec. H14762-01, H14773. So when Congress
    walked back Dodd-Frank’s broad grant of enforcement
    authority, it retained the notion that Dodd-Frank applies to
    those taking part in the financial system and consumer
    financial business. As such, it is clear that Congress intended
    the Dodd-Frank to apply to the consumer financial industry.
    95
        Sw. Airlines Co. v. Saxon, 596 U.S. 450, 457 (2022)
    (emphasis added) (internal quotations omitted).
    96
       See Id.




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    “Saxon [argued] that the [FAA] did not apply because she was
    a member of a ‘class of workers engaged in foreign or interstate
    commerce,’ and therefore exempted by § 1 of the [FAA].” 97 To
    determine whether this exemption applied, the Supreme Court
    had to define “engage.” 98

           The Court, “begin[ning] with the text,” stated that the
    word “‘engaged’ . . . mean[s] ‘occupied,’ ‘employed,’ or
    ‘involved’ in [something].” 99 In applying this definition, the
    Court held that Southwest Airlines interpreted the statute too
    narrowly, and that Saxon, as a ramp supervisor for the airline,
    was part of a “‘class of workers engaged in foreign or interstate
    commerce’ to which [the statutory] exemption applies.” 100

           This interpretation is consistent with colloquial and
    legal dictionaries that define “engage.” Merriam-Webster’s
    Dictionary contemporarily defines engage as “to begin and
    carry on an enterprise or activity” and “to do or take part in
    something.” 101 Black’s Law Dictionary defines engage as: “To
    employ or involve one’s self; to take part in; to embark on.” 102
    This definition has remained remarkably consistent over time,


    97
       Saxon v. Sw. Airlines Co., 993 F.3d 492, 495 (7th Cir. 2022).
    98
       Saxon, 596 U.S. at 463.
    99
        Id. (citing Webster’s New International Dictionary 725
    (1922) and Black’s Law Dictionary 661 (3d ed. 1933)
    (defining “engage”)).
    100
        Id.
    101
        Engage, Merriam-Webster’s Dictionary.
    102
         Engage, Black’s Law Dictionary (11th ed. 2019). This
    definition is also consistent with the one used by the District
    Court. See CFPB II, 575 F. Supp. 3d at 509.




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    and is the same definition referred to by the Supreme Court in
    Saxon. 103

            Using this definition, we can now determine whether
    the Trusts “engage” in consumer financial products or services.
    If the Trusts meet any of the aforementioned definitions, they
    can be said to “engage.” For example, if they “embark on” or
    “take part in” collecting debt or servicing loans, they can be
    said to engage in those consumer financial products or
    services. 104 And if they engage, they will come under the
    purview of the CFPA.

            The Trust Agreement that each Trust entered into
    states the following:

           The purpose of the Trust is to engage in the
           following activities and only these activities: (i)
           To acquire a pool of Student Loans, to execute
           the Indenture and to issue the Notes; (ii) To enter
           into the Trust Related Agreements and to provide
           to the administration of the Trusts and servicing
           of the Student Loans; (iii) To engage in those
           activities and to enter into such agreements that
           are necessary, suitable or convenient to
           accomplish the foregoing or are incidental
           thereto or connected therewith; and (iv) To
           engage in other such activities as may be

    103
        Compare Engage, Black’s Law Dictionary (3d ed. 1933)
    with Engage, Black’s Law Dictionary (11th ed. 2019).
    104
        The District Court found “debt collection and loan servicing
    [to be] core aspects of the Trusts’ business model.” CFPB II,
    575 F. Supp. 3d at 509.




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           required in connection with conservation of the
           Trust Property and Distributions to Owners. 105

    Thus, the Agreement itself states that the Trusts “engage” in
    these activities, which include consumer financial products or
    services. Nonetheless, because the parties dispute the
    definition of engage, we will apply it to each purpose
    mentioned in the Trust Agreement.

           First, in “acquir[ing] a pool of Student Loans,” 106 the
    Trusts “beg[an] . . . an enterprise or activity,” 107 with that
    enterprise 108 “involv[ing]” 109 financial products or services.
    As the Trusts themselves state in their brief, “the defendants
    are 15 statutory trusts formed to purchase, pool, and securitize
    student-loan debt.” 110 Moreover, it seems unlikely that one can
    acquire 111 something without “involv[ing] one’s self.” 112

          Second, the Trusts “carr[ied] on [their] enterprise”
    through Administration Agreements. 113 These Agreements
    “make clear the Administrator will ‘perform’ the ‘duties of the

    105
        JA107 (emphasis added).
    106
        Id.
    107
        See supra note 101.
    108
        See Enterprise, Black’s Law Dictionary (11th ed. 2019)
    (“An organization or venture, esp[ecially] for business
    purposes.”).
    109
        Engage, Black’s Law Dictionary (11th ed. 2019).
    110
        NCMSLT Br. at 1.
    111
        See Acquire, Black’s Law Dictionary (11th ed. 2019) (“To
    gain possession or control of; to get or obtain.”).
    112
        NCMSLT Br. at 1.
    113
        See supra note 101.




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    [Trusts].’” 114 More particularly, “[t]he Administrator shall
    prepare for execution . . . , or shall cause the preparation . . . of,
    all such documents, reports, filings, instruments, certificates
    and opinions . . . of the [Trusts] . . . pursuant to the Trust
    Related Agreements.” 115 In this vein, “the Administrator need
    not await instructions before pursuing ordinary course lawsuits
    initiated ‘by the [Trust] or its agents . . . for the collection of
    the Student Loans owned by the [Trust].’” 116 Therefore,
    through the Administration Agreements, the Trusts
    “involv[ed]” 117 themselves in consumer financial products or
    services.

           Third, the Trusts “carr[ied] on [their] enterprise” 118 by
    further “involv[ing]” 119 themselves in agreements for the
    servicing of loans. 120 Another such set of agreements were
    Servicing Agreements, which were entered into by the

    114
         In re NCLST, 251 A.3d at 140 (alteration in original)
    (quoting JA150).       While the Trusts purport that the
    Administrator is separate from the Trusts, see NCMSLT Br. at
    11 (arguing that “the Administrator is ‘not . . . subject to the
    supervision of the [Trusts] or the Owner Trustee with respect
    to the manner in which it accomplishes the performance of its
    obligations’”), we need not address this claim. It is a bridge
    too far. All we need to determine is whether the Trusts
    engaged in such agreements.
    115
        JA149.
    116
        In re NCLST, 251 A.3d at 140–41 (alteration in original)
    (quoting JA151).
    117
        Engage, Black’s Law Dictionary (11th ed. 2019).
    118
        See supra note 101.
    119
        Engage, Black’s Law Dictionary (11th ed. 2019).
    120
        See supra note 101.




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    Administrator. 121 Servicing Agreements were a necessary part
    of their business. 122 Again, as the Trusts mention in their brief,
    “[t]hey have no employees and no directors.” 123 So, in order
    to fulfill their obligation of “servicing . . . student loans” 124 they
    had to enter into agreements with “third parties [to] collect[]
    the debt and service[] the loans,” which “could not have
    happened without [the Trusts’] say-so.” 125 Indeed, without
    these agreements, the Trusts could not have “embark[ed]
    on” 126 the servicing of student loans.

            Finally, the Trust Agreement states that the Trusts are to
    “engage in other activities” that may be “required in
    connection or conservation of Trust Property . . . .” 127 Trust
    Property, according to the Trust Agreement, is defined as “all
    right, title and interest of the Trust or the Owner Trustee on
    behalf of the Trust in and to any property contributed to the
    Trust.” 128 And “the Trusts retained legal title to the Collateral
    [i.e., the Student Loans] so that they could collect Student
    Loans for distribution . . . .” 129 When suits are brought against
    borrowers for the Trusts to collect on student loans, third
    parties are acting for the benefit of the Trusts. 130 As such, the


    121
        In re NCLST, 251 A.3d at 131.
    122
        JA14.
    123
        NCMSLT Br. at 1.
    124
        See supra note 105.
    125
        JA13.
    126
        Engage, Black’s Law Dictionary (11th ed. 2019).
    127
        See supra note 105.
    128
        JA105.
    129
        In Re NCSLT, 251 A.3d at 194.
    130
        See supra note 15 and accompanying text.




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    Trusts cannot claim that they did not “take part in” collecting
    debts. 131

           The Trust Agreement’s purpose indicates that the Trusts
    engage in both student loan servicing and debt collection. As
    such, the Trusts fall within the purview of the CFPA because
    they “engage” in a known “consumer financial product or
    service” and are necessarily subject to the CFPB’s enforcement
    authority. 132

           B.     Constitutional Question

            We now turn to the constitutional question that was
    certified: Ratification of agency action. The Trusts argue that
    the underlying suit needed to be ratified by the Director of the
    CFPB because it was initiated while the agency head was
    improperly insulated; and since that ratification came after the
    statute of limitations had run, the suit was untimely. 133
    Moreover, they claim that action undertaken while an agency
    head is impermissibly insulated creates a “here-and-now
    injury.” 134 The CFPB responds by arguing that ratification was
    not necessary in the wake of Collins because the agency head
    was properly appointed and the statute did not cause harm to
    the Trusts. 135

            To properly evaluate these arguments, we must briefly
    revisit our discussion of Collins. As the District Court found,

    131
        See supra notes 15, 91, 104, and accompanying text.
    132
        12 U.S.C. § 5584(a).
    133
        NCMSLT Br. at 49–53.
    134
        NCMSLT Br. at 21.
    135
        CFPB Br. at 34–54.




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    “[t]he [Collins] Court explained that actions taken by an
    improperly insulated director are not ‘void’ and do not need to
    be ‘ratified’ unless a plaintiff can show that the removal
    provision harmed him.” 136 The parties do not dispute whether
    the CFPB Director was properly appointed. 137 Thus, the heart
    of the issue is whether the insulation provision, 12 U.S.C. §
    5491(c), caused harm. 138 This is not an issue of first
    impression. We begin by evaluating the approaches our sister
    circuits have taken in interpreting Collins.

            The Second Circuit Court of Appeals in CFPB v. Law
    Offices of Crystal Moroney, P.C., 139 addressed whether a civil
    investigative demand (CID), often the first step in an
    enforcement suit by the CFPB “was void ab initio because,
    when the CID was issued, the CFPB Director was shielded by
    an unconstitutional removal provision.” 140 The court held that
    “[t]his argument is foreclosed by the Supreme Court’s decision
    in Collins.” 141 It interpreted the Court in Collins as “h[olding]
    that the relevant inquiry for determining whether an officer
    ‘lacked constitutional authority and that [her] actions were

    136
        JA16 (citing Collins, 141 S. Ct. at 1787–88).
    137
        JA15. However, the Trusts do argue that the harm from
    impermissible insulation is “indistinguishable” from harm of
    improper appointment.
    138
        Cf. Kaufmann v. Kijakazi, 32 F.4th 843, 849–50 (9th Cir.
    2022) (holding that, when an agency head is impermissibly
    insulated, the matter is to be decided based on whether the
    statute itself caused harm).
    139
         63 F.4th 174 (2d Cir. 2023). A Petition for Writ of
    Certiorari has been docketed.
    140
        Id. at 179.
    141
        Id.




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    therefore void ab initio’ is whether the officer in question [was]
    properly appointed,’ not whether she was properly
    removable.” 142 Like our interpretation of Collins today, the
    circuit court also noted that a party could, nevertheless, “be
    entitled to relief if it could show that ‘an unconstitutional
    provision . . . inflict[ed] compensable harm’ on the
    petitioner.” 143 In determining the nature of that harm, the
    circuit court relied on Justice Kagan’s concurrence to
    determine that “[r]equiring but-for causation in these cases
    properly matches the constitutional injury to the requested
    remedy.” 144 The circuit court found this interpretation to be
    consistent with its own and with Supreme Court precedents. 145

            The Ninth Circuit Court of Appeals in Kaufmann v.
    Kijakazi, 146 further defined the requisite harm. There, the
    circuit court was faced with deciding whether an
    impermissibly insulated agency head violated the separation of
    powers, and if so, whether the agency action was necessarily
    void. 147 At the outset, the court noted that, “[f]or the purpose
    of the constitutional analysis, the Commissioner of Social
    Security is indistinguishable from the Director of the FHFA
    discussed in Collins and the Director of the CFPB discussed in


    142
        Id. (alterations in original) (quoting Collins, 141 S. Ct. at
    1787). Again, we agree that the CFPB’s Director was properly
    appointed. See JA15 (stating that “the Bureau’s director was
    properly appointed”).
    143
        Id. (quoting Collins, 141 S. Ct. at 1789).
    144
        Id. at 180.
    145
        Id.
    146
        32 F.4th 843 (9th Cir. 2022).
    147
        Kaufmann, 32 F.4th at 846.




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    Seila Law.” 148 Much like Seila Law, the circuit court also
    found “the removal provision . . . severable from the remainder
    of the statute,” and that the remainder of the statute was capable
    of functioning independently of the impermissible
    provision. 149 Still, the circuit court also noted that “[a] party
    challenging an agency’s past actions must . . . show how the
    unconstitutional removal provision actually harmed the
    party.” 150 “[U]nless a claimant demonstrates actual harm, the
    unconstitutional provision has no effect on the claimant’s case.
    Because Claimant has not shown actual harm, we uphold the
    Commissioner's decision.” 151

           Here, as discussed above, the Trusts claim that an
    unconstitutional provision violating the separation of powers
    caused them harm. 152 But a mere allegation that the
    unconstitutional provision inherently caused them harm is
    insufficient. There must be something more. 153 For example,
    if the CFPA suggested “any link whatsoever between the
    removal provision and [c]laimant’s case,” then the Trusts may
    be entitled to some type of relief. 154

    148
        Id. at 849.
    149
        Id. (“[O]ne provision of a [statute] may be invalid by reason
    of its not conforming to the Constitution, while all the other
    provisions may be subject to no constitutional infirmity.”)
    (quoting Seila Law, 140 S. Ct. at 2208)) (alteration in original).
    150
        Id.
    151
        Id. at 850 (emphasis added).
    152
         That harm is the purported “here-and-now” injury. See
    supra note 134 and accompanying text; infra note 159 and
    accompanying text.
    153
        Id. at 849–50.
    154
        Id. at 850.




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            We cannot find such a link. The statute, in relevant part,
    states: “The Director shall serve for a term of 5 years”; “An
    individual may serve as Director after the expiration of the term
    for which appointed, until a successor has been appointed and
    qualified”; and “The President may remove the Director for
    inefficiency, neglect of duty, or malfeasance in office.” 155
    There is no notion in this statute that the CFPB would have
    taken this action but for the President’s inability to remove the
    Director. 156 On the contrary, as the District Court noted, there
    “is strong evidence that this suit would have been brought
    regardless” of a president’s authority to remove because the
    CFPB’s litigation strategy has been consistent across five
    directors, four of whom were removable at will. 157

            While the Trusts argue that the unconstitutional
    provision, in and of itself, created a here-and-now injury, 158
    their analysis of the injury does not go far enough. They argue
    that harm from an unconstitutional statutory restriction on
    removal authority is “indistinguishable” from the “harm
    suffered under the authority of executive officers who were not
    properly appointed in the first instance.” 159             This
    presupposition of harm, as discussed above, is foreclosed by

    155
        12 U.S.C. § 5491.
    156
        See Kaufmann, 32 F.4th at 850.
    157
        See CFPB II, 575 F. Supp. 3d at 508; supra notes 61–62 and
    accompanying text.
    158
        NCMSLT Br. at 21 (“An enforcement action initiated by an
    unconstitutionally structured agency inflicts a ‘here-and-now’
    injury, that demands a remedy tailored ‘to the injury suffered.’”
    (quoting United States v. Morrison, 449 U.S. 361, 364 (1981)))
    (cleaned up).
    159
        NCMSLT Br. at 62.




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    Collins and its progeny because there must be an actual,
    compensable harm in order for there to be an injury from an
    impermissible insulation provision. 160 Again, the circuit court
    in Kaufmann held that an impermissible insulation provision
    does not, on its own, cause harm, and “unless a claimant
    demonstrates actual harm, the unconstitutional provision has
    no effect on the claimant’s case.” 161

           Additionally, the Trusts’ interpretation of their
    purported injury seems to be in discord with other precedential
    examples of “here-and-now” injuries. For example, the
    Supreme Court has noted that “subjection to an illegitimate
    proceeding, led by an illegitimate decisionmaker” is a
    manifestation of a “here-and-now” injury. 162 There is no
    support in the record for the notion that instant proceeding was
    similarly illegitimate because, like Kaufmann, there is no
    indication that this suit would have been undertaken but-for a
    president’s authority to remove the CFPB’s Director, or that the
    CFPB was able to target the Trusts via the unconstitutional
    provision. 163 In another example, in Sherley v. Sebelius, the
    D.C. Circuit Court of Appeals found there to be a “here-and-
    now injury” when doctors would have to invest additional time
    and resources because of a loss, or different allocation, of
    funding. 164    In both of these examples, there was a
    compensable and identifiable harm. Here, there is no such
    thing.

    160
        Kaufmann, 32 F.4th at 850.
    161
        See id. (emphasis added).
    162
        Axon Enter., Inc. v. Fed. Trade Comm’n, 143 S. Ct. 890,
    903 (2023).
    163
        See CFPB II, 575 F. Supp. 3d at 508.
    164
        610 F.3d 69, 74 (D.C. Cir. 2010).




                                  37
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            The Trusts argue, contrary to these precedents, that
    Collins did not actually change the legal landscape, and that
    the matter before us still needed to be ratified by a properly
    appointed director after the constitutional defect was cured via
    severing pursuant to 12 U.S.C. § 5491(c). 165 This notion is
    directly counter to the Supreme Court’s holding in Collins. It
    is also counter to guidance provided by our sister courts. For
    example, the Tenth Circuit Court of Appeals in Integrity
    Advance, LLC v. CFPB held that “Collins put to rest” the
    argument that ratification was necessary for actions taken
    while the agency was unconstitutionally structured. 166 And the
    Ninth Circuit Court of Appeals had nearly the same
    interpretation of a post-Collins world: “We find it unnecessary
    to consider ratification because [Collins] has made clear that
    despite the unconstitutional limitation on the President’s
    authority to remove the Bureau’s Director, the Director’s
    actions were valid when they were taken.” 167

            We see no need to remand the ratification issue. As our
    sister courts have noted, “[w]hile Collins remanded for further
    factual development on the issue of harm, we need not do so
    here, as the record is clear.” 168 The record is also clear here:
    There is no indication that the unconstitutional limitation on
    the President’s authority harmed the Trusts.




    165
        NCMSLT Br. at 53–67.
    166
        48 F.4th 1161, 1170 (10th Cir. 2022), cert. denied, No. 22-
    838, 2023 WL 3937614 (June 12, 2023).
    167
        CFPB v. CashCall, Inc., 35 F.4th 734, 742 (9th Cir. 2022).
    168
        Decker Coal Co. v. Pehringer, 8 F.4th 1123, 1137 (9th Cir.
    2021) (citation omitted).




                                   38
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                              CONCLUSION

           For the above reasons, we will respond to the District
    Court’s queries by holding that (1) the Trusts are covered
    persons subject to the CFPA’s enforcement authority because
    they “engage” in the requisite activities and (2) the CFPB did
    not need to ratify this action before the statute of limitations
    had run.




                                  39
